Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 1 of 46

 

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Exhibit 53
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RWL Document 137-

cv-04327-LLS-

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Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 12 of 46

    

 

 

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RWL Document 137-

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EXHIBIT B
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17-cv-04327-LLS-

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Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 30 of 46

| have been removed as an admin on our google domain. | need to be added back as an admin
to the ndap-lic.com level domain which controls all of our subdomains. We were both admins
which grants the other the power to remove someone as an admin and disable, suspend or
delete accounts.

Email Address’:
mdash@ndap-llc.com

mdash @carpartkings.com

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mdash @coopersquareventures.com
mdash@plumburs.com
michael@channelreply.com
partners@ndap-lic.com
paypal@ndap-lic.com
partners@plumburs.com
paypal@coopersquareventures.com
sales@carpartkings.com
sales@channelreply.com
sales@nextdayautoparts.com
support@channelreply.com

All google drive accounts associated with the email accounts shown above
All google analytics accounts associated with the email accounts shown above

Bank of America Bank Accounts:
Cooper Square Ventures
NDAP, LLC

1Password Account ~ this is a password and login account management system. It holds all of
my personal passwords and the companies shared passwords. Account was paid for out of
company funds.

Chargebee Account — This is our subscription management account that holds the customer
information and billing information for all of our ChannelReply customers

Stripe Account — This is our credit card billing service that allows us to receive credit card
payments from our customers.

PayPal Account — This is an online payment system which allows us to take online payments
from our customers.

Upwork Account — This is a freelancer marketplace that allows us to hire and pay freelancers to
run the business.
Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 31 of 46

Zendesk Accounts — This is a customer service management account which allows us to talk to
our customers when they email us through support tickets.

JIRA Account — This is a project management software that allows us to manage projects
effectively for our business and work with one another to successfully complete tasks.

Slack — This is a messaging management software for our business that allows company
employees and freelancer to openly communicate with one another and share documents.

Amazon Seller Central — This is our Amazon seller account that allows us to sell products on
Amazon and manage our MWS accounts for channelreply sellers through our admin.

eBay Accounts — This allows us to sell products on ebay and manage our ebay subscription id’s
for channelreply sellers through our admin.

Timedoctor — This allows us to manage the time management of employees and freelancers via
an online portal to track time and take screenshots of employees and freelancer work.

Amazon Web Services (AWS) — This is where we manage all of our Amazon Web Servers which
keep the businesses servers running effectively.

American Express Account — This is a NDAP corporate credit card account

Magento Accounts — This is our Magento Admin which allows us to see all backend data
associated with our business

Quickbooks Accounts — This is where all the finances are held and all accounting and
reconciliation is done. -

Desk.com Account - This is a customer service management account which allows us to talk to
our customers when they email us through support tickets.

Godaddy Account — We have a company godaddy account which owns and operates many
domains, | cannot login to Godaddy to even list all of the domains we own together.

Magemojo — This is our Magento hosted server account
Mailchimp — This is our email subscription newsletter account
Github — This is where all of our software is checked in and stored for sharing

Ringcentral — This is our VOIP system that allows us to make and receive internet phone calls
and faxes
Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 32 of 46

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Join.me — This is a screenshare service that allows us to talk to customers and share our screens
} with them
Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 33 of 46

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Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 34 of 46

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Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 35 of 46

   

Exhibit 59
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- Exhibit 60 hy -
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6/4/2017 ndap Mail - Confirm your email address

Mike Dash <mdash@ndap-lic.com>

 

ty Google

 

Confirm your email address

 

service via Partners <partners@plumburs.com> Sat, May 27, 2017 at 4:18 PM
Reply-To: service@paypal.com
To: "Cooper Square Ventures, LLC" <paypal@channelreply.com>

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Confirm your email address

Hello Cooper Square Ventures, LLC,

Confirm your email address now to let us know it really belongs to you.

Once that's done, you're ready to receive money.

If you are unable to click the button below to confirm your email, please follow this link
https:/Avww.paypal.com/us/signin?expld=confirmEmail&cc=16094865017745295720&8em=

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Confirm your email

Thanks,
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Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 39 of 46

EXHIBIT B
Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 40 of 46

6/6/2017 ndap Mail - You just changed your password

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Mike Dash <mdash@ndap-llc.com>

 

 

You just changed your password

 

service via Partners <pariners@plumburs.com> Sat, May 27, 2017 at 4:23 PM
Reply-To: service@paypal.com
To: "Cooper Square Ventures, LLC" <paypail@channelreply.com>

B PayPai

Hello Cooper Square Ventures, LLC,
You just changed your password.

If you didn’t change your password, give us a call right away at 402-935-7733.

Just a reminder:

+ Never share your password with anyone.

+ Create passwords that are hard to guess and don't use personal information. Be sure to include uppercase and
lowercase letters, numbers, and symbols.

+ Use different passwords for each of your online accounts.

Sincerely,
PayPal

Help | Security Centre

Please do not reply to this email. To get in touch with us, click Help & Contact.

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Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 41 of 46

EXHIBIT C
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Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 45 of 46

 
Case 1:17-cv-04327-LLS-RWL Document 137-10 Filed 05/01/20 Page 46 of 46

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channelreply.slack.com

What is your sign-in email address?

 

you@exam

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